Case 2:02-cV-02729-BBD Document 77 Filed 05/05/05 Page 1 of 3 Page|D 116

IN THE UNITED STATES DlSTRlCT COURT
WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION
BRENDA .]. BRADBERRY and )
EDWIN C. BRADBERRY, )
individually and on behalf of all )
persons similarly situated, )
)
Plaintiffs, )
)
v. ) No. 02~cv~2729-D/V
) .lURY DEMAND
.IOHN HANCOCK MUTUAL ) (TWELVE PERSON)
lil FE INSURANCE COMPANY, ) Judge Bernice B. Donald
)
Defendant. )

ORDER

F!i.ED f.i"r`?; D.C.

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This cause came on to be heard by the parties’ .loint l\/lotion to Extend Proposed

Deadlines for Closc ofDiscovery, Filing Dispositive l\/I`otions, and Responding to Dispositive

l\/lotions. The parties have proposed setting the deadline for the close of discovery as June 17,

20()5, the deadline for filing dispositive motions as J'une 30, 2005, and the deadline for

responding to dispositive motions as .lnly 29, 2005. The Court, after consideration of the

pleadings1 the representations oi`counsel, and the entire record ofthis case1 and finding that good

cause exists t`o_r the granting of this motion, hereby grants Saine.

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This document entered on the docket sheet in compliance
with Ru‘.e 66 and/or ?`9(2.} FRCP on

RNICE BO lIE D()NALD
NITED STATES DISTRICT JUDGE

    
    

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Honorable Bernice Donald
US DISTRICT COURT

